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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
 8    UNITED STATES OF AMERICA,

 9                         Plaintiff,                          No. CR12-62RSL

10                  v.
                                                               ORDER DENYING MOTION TO
11    CRISTIAN BERRELLEZA-VERDUZCO,                            REDUCE SENTENCE
                                                               PURSUANT TO 18 U.S.C. § 3582
12                         Defendant.

13
14          This matter comes before the Court on defendant’s pro se motion to reduce his sentence

15   pursuant to 18 U.S.C. § 3582, Dkt. # 1432, which the government opposes, Dkt. # 1434. Having

16   reviewed the parties’ briefing and the relevant record, the Court finds as follows.

17          In April 2013, pursuant to an agreement with the government, Dkt. # 857, defendant pled

18   guilty to a series of drug trafficking crimes: one count of conspiracy to distribute controlled

19   substances (under 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), & 846); one count of conspiracy to

20   engage in money laundering (under 18 U.S.C. §§ 1956(h), 1956(a)(1)(A)(i), & 1956(a)(1)(B)(i));

21   one count of conspiracy to interfere with commerce by robbery (under 18 U.S.C. § 1951); one

22   count of conspiracy to possess firearms in furtherance of a drug trafficking crime (under 18

23   U.S.C. § 924(o)); and one count of possession of a firearm in furtherance of a drug trafficking

24   crime (under 18 U.S.C. § 924(c)). Case No. CR12-62RSL, Dkt. # 852. In September 2014, the

25   Court sentenced defendant to 324 months in custody, followed by five years of supervised

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     TO 18 U.S.C. § 3582
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 1   release. Case No. CR12-62RSL, Dkt. # 1317. Defendant timely appealed the Court’s order
 2   denying his motion to withdraw his plea, and on July 12, 2016, the Ninth Circuit affirmed. Case
 3   No. CR12-62RSL, Dkt. # 1421. In August 2016, defendant moved to vacate his sentence under
 4   28 U.S.C. § 2255. Dkt. # 1425. The Court denied that motion on November 22, 2016. Case
 5   No. C16-1308RSL, Dkt. # 10.
 6          On February 13, 2017, defendant filed this motion to reduce his sentence under 18 U.S.C.
 7   § 3582. That provision authorizes courts to reduce a previously imposed sentence in light of
 8   subsequent amendments to the Sentencing Guidelines. In requesting a sentence reduction,
 9   defendant relies on Amendment 788 to the Sentencing Guidelines, which made Amendment 782
10   (reducing the recommended penalties for most drug offenses by lowering the offense levels on
11   the § 2D1.1 Drug Quantity Table) retroactively applicable. But because Amendment 782 does
12   not lower defendant’s Sentencing Guidelines range, it cannot provide grounds for reducing
13   defendant’s sentence.
14          Specifically, using the 2012 Guidelines Manual, U.S. Sentencing and Probation
15   calculated defendant’s base offense level for Counts 1, 2, and 4 as Level 38. Dkt. # 1235, ¶ 58.
16   U.S. Sentencing and Probation then recommended upward adjustments for importation of
17   methamphetamine (+2); money laundering (+2); and leadership (+4). Dkt. # 1235, ¶¶ 60, 62, 64.
18   Thus, defendant’s combined adjusted offense level was Level 46. The U.S. Sentencing
19   Guidelines table only goes up to Level 43, and directs that “[a]n offense level of more than 43 is
20   to be treated as an offense level of 43.” U.S.S.G. Ch. 5, Pt. A, cmt. n.2; Dkt. # 1235, ¶ 80. With
21   a Criminal History Category of I, defendant’s resulting Sentencing Guidelines range was “Life,”
22   followed by a mandatory consecutive five years’ imprisonment for Count 33. Dkt. # 1235,
23   ¶ 100. The Court ultimately varied downward from the Guidelines range and imposed a
24   sentence of 324 months’ imprisonment. Dkt. # 1317 at 3.
25
26   ORDER DENYING MOTION TO
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 1         Amendments 782 and 788 would not lower defendant’s Guidelines range, because even
 2   with the two-level reduction required by those amendments, defendant’s adjusted offense level
 3   would be 44 rather than 46. Accordingly, defendant’s Guidelines range would still be calculated
 4   based on offense level 43 and Criminal History Category I. The Court lacks jurisdiction to
 5   reduce a sentence based on a sentencing range that is not lowered by a retroactively applicable
 6   Guidelines amendment. See United States v. Wesson, 583 F.3d 728, 730 (9th Cir. 2009).
 7
 8         Accordingly, defendant’s motion to reduce his sentence pursuant to 18 U.S.C. § 3582
 9   (Dkt. # 1432) is DENIED.
10
11         Dated this 25th day of April, 2017.
12
13                                                   A
                                                     Robert S. Lasnik
14                                                   United States District Judge
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26   ORDER DENYING MOTION TO
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